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FOR THE DlsTRicT oF NEW MEXICO CLERK“LAS CR

IN TI-IE UNITED STATES DISTR_ICT COURT mg APR

UNITED sTATEs or AMERICA, )
)
Plaimiff, ) CRIMINAL No. g l;[ ~ l 0 VU’ VJ l
)
VS. )
)
JoRGE JosE CARDoZA, )
)
Defendant. )
PLEA AGREEMENT

Pursuant to Federal Rule of Criminal Procedure ll, the parties hereby notify the Court of
the following agreement between the United States Attorney for the District of New Mexico,_ the

defendant, JORGE JOSE CARDOZA, and the defendant's counsel, CHARLES

McELHINNEY:
REPRESENTATION BY COUNSEL
l. The defendant understands the defendant's right to be represented by an attorney

and is so represented The defendant has thoroughly reviewed all aspects of this case With the
defendants attorney and is fully satisfied with that attorney's legal representation 1
RlGHTS OF TI-IE DEFENDANT
2. The defendant further understands the following rights: .
a. to be charged and prosecuted by indictment;

to plead not guilty; `-

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c. to have a trial by jury;

d. to confront and cross-examine witnesses and to call witnesses to testify for
the defense; and

e. against compelled self-incrimination

 

 

 

wAlvER or RIGHTS AND PLEA or GUILTY

3. The defendant hereby agrees to waive these rights and to plead guilty to the

Information charging a violation of 18 U.S.C. § 922(g)(1) and 924(a)(2), that being Felon in

Possession of a Firearm.

SENTENCING
4. The defendant understands that the minimum and maximum penalty the Court can
impose is:
a. imprisonment for a period of not more than ten (10) years;
b. a fine not to exceed $250,000.00;
c. a mandatory term of supervised release of not more than three (3) years
that must follow any term of imprisonment (If the defendant Serves a
tenn of imprisonment is then released on supervised release, and violates
the conditions of supervised release, the defendants supervised release
could be revoked--even on the last day of the term~-and the defendant
could then be returned to another period of incarceration and a new term
of supervised reiease); and -
d. a mandatory special penalty assessment of $100.00.
5. The parties recognize that the Sentencing Guidelines are advisory, and that the

Court is required to consider them in determining the sentence it imposes

6. lt is expressly understood and agreed by and between the defendant and the_

United States that:

a.

The United States has made, and will make, NO AGREEMENT pursuant

to Federal Rule of Crirninal Procedure ll(c)(_l)(C), that a specific sentence is the appropriate

disposition of this case.

b.

The United States has made, and will make, NO AGREEMENT to

approve, to oppose, or not to oppose pursuant to F ederal Rule of Criminal Procedure ll(c)(l)(B),

 

   

  

any request made by the defendant or on behalf of the defendant for a particular sentence in this
case, other than the stipulations agreed to below.

c. s The United States hereby expressly reserves the right to make known to
the United States -Probation Offlce andto the Court, for inclusion in the presentence-report
prepared pursuant to Federal Rnle of Criminal Procedure 32, any information that the United
States believes may be helpful to the Court, including but not limited to information about any
relevant conduct under USSG § lBl .3.

d. The defendant recognizes that this plea agreement has already conferred a
benefit upon the defendant and that no downward departure is appropriate Consequently, in
return for the benefit conferred on the defendant by entering into this agreement, the defendant
agrees not to seek a downward departure or variance from the applicable offense level or
criminal history category as determined by the Court. This specifically precludes any claim by
the defendant, pursuant to USSG § 4Al.3, that the criminal history category overstates the
seriousness of defendant's criminal history. The defendant agrees that the advisory guideline
range as determined by the agreed upon stipulations is reasonable in light of 18 U.S.C. § 3553
and United Stares v. Booker, 543 U.S. 220 (2005). The defendant agrees not to seek a sentence .
below the advisory guideline range. lf the defendant, in violation of this paragraph, should
nevertheless seek a downward departure or variance, the United States reserves the right, in its
sole discretion, to withdraw this plea agreement and to proceed to trial on all charges before the
Conrt.

e. Except under circumstances where the Court, acting on its own, fails to
accept this plea agreement,' the defendant agrees that, upon the defendant's signing of this plea

agreement, the facts that the defendant has admitted under this plea agreement as set forth below,

 
 

 

  

 

as well as'any facts to which the defendant admits in open court at the defendant's plea hearing, '

Shall be admissible against the defendant under Federal Rule of Evidence 801(d)(2)(A) in any

subsequent proceeding, including a criminal trial, and the defendant expressly waives the

defendant's rights under Federal Ruie of Criminal Procedure ll(f) and Fede_ral Rule of Evidence

410 with regard to the facts the defendant admits in conjunction with this plea agreement
DEFENDANT'S ADMISSION OF FACTS

7. `By my signature on this plea agreement7 l am acknowledging that l am pleading
guilty because_l am, in fact, guilty of the offense(s) to which I arn pleading guilty. I recognize
and accept responsibility for my criminal conduct Moreover, in pleading guilty, l acknowledge
that if l chose to go to trial instead of entering this plea, the United States could prove facts
sufficient to establish my guilt of the offense(s) to which l am pleading guilty beyond a
reasonable doubt, including any facts alleged in the lnformation that increase the Statutory
minimum or maximum penalties l specifically admit the following facts related to the charges
against me, and declare under penalty of perjury that all of these facts are true and correct:

On or about February 3, 2014, l in Luoa County, in the l)istrict of New

Mexico, I, Jorge Jose Cardoza, knowingly possessed a Remington .22 caliber

rifle; and a Tressitu 9mm caliber pistol, which had been shipped and/or

transported in interstate and/or foreign commerce. I knew that I Was not

permitted to possess a firearm because I had previously been convicted of a

felony.

8. By signing this agreement, the defendant admits that there is a factual basis for
each element of the crime(s) to which the defendant will plead guilty. The defendant agrees that
the Court may rely on any of these facts, as well as facts in the presentence report, to determine
the defendants sentence, including, but not limited to, the advisory guideline offense-level.

STlPULATlONS

9. The United States and the defendant stipulate as follows:

 

 

a. Pursuant to-USSG § 3El.l(a), the defendant has clearly demonstrated a
recognition and affirmative acceptance of personal responsibility for the defendant's criminal
conduct Consequently, so long as the defendant continues to accept responsibility for the
defendant's criminal conduct, the defendant is entitled to a reduction of two (2) levels é)m the
base offense level as calculated under the sentencing guidelines This reduction is contingent
upon the defendant providing an appropriate oral or written Statement to the United States
probation officer who prepares the presentence report in this case in which the defendant clearly
establishes the defendant's entitlement to this reduction.

b. Provided the defendant meets the requirements of USSG § 3El.l(b), the
government agrees to move for a reduction of one (1) additional level from the base offense level
as calculated under the sentencing guidelines

c. The parties stipulate that the enhancement contained in USSG § 3Cl.2
does not apply. /

lO. The defendant understands that the above stipulations are not binding on the
Court and that whether the Court accepts these stipulations is a matter solely within the
discretion of the Court after it has reviewed the presentence report. Further, the defendant
understands that the Court may choose to vary from the advisory guideline sentence The
defendant understands that if the Court does not accept any one or more of the above stipulations
and reaches an advisory guideline sentence different than expected by the defendant; or if the
Court varies from the advisory guideline range, the defendant will not seek to withdraw the
defendant's plea of guilty. ln other words, regardless of any stipulations the parties'may enter

into, the defendants final sentence is solely within the discretion of the Court.

 

 

DEFENDANT'S OBLIGATIONS

ll. 'I`he defendant understands the defendant's obligation to provide the United States
Probation Office with truthful, accurate, and complete information, including, but not limited`to
defendant's true identity, citizenship status, and any prior criminal convictions The defendant
hereby represents that the defendant has complied with and will continue to comply with this
obligation The defendant understands that any misrepresentation with respect to the above
_ obligations may be considered a breach of this plea agreement 1

IMMIGRATION REMOVAL AND OTHER IMMIGRATION CONSEOUENCES

12. Defendant recognizes that pleading guilty may have consequences with respect to
defendant's immigration status if defendant is not a citizen of the United States. Under federal
law, a broad range of crimes are removable offenses, including the offense('s) to Which defendant
is pleading guilty. Removal and other immigration consequences are the subject of a separate
proceeding, however, and defendant understands that no one, including defendant's attorney or
the district court, can predict to a certainty the effect of defendant's conviction on defendant's
immigration consequences that defendant's plea may entail, even if the consequences include l
defendant's automatic removal from the United States. '

_ WA[VER GF APPEAL RlGHTS l

13. The defendant is aware that 28 U.S.C. § 1291 and `18 U.S-.C. § 3742 afford a
defendant the right to appeal a conviction and the sentence imposed Acknowledging that, the
defendant knowingly waives the right to appeal this conviction and any sentence, including any
fine,- at or under the maximum statutory penalty authorized by law. ln addition, the defendant

agrees to waive any collateral attack to this conviction and the sentence imposed, including any

 

 

fine, pursuant to 28 U.S.C. §§ 2241, 2255, or any other extraordinary writ, except on the issue of

counsel's_ineffective assistance in negotiating or entering this plea or this waiver
. GOVERNMENT'S AGREEMENT _
l4. 'Provided that the defendant fulfills the defendant's obligations as set out above,
the United States agrees not to bring additional criminal charges against the defendant arising out
of the facts forming the basis of the present lnformation. .
15, This agreement is limited to the United States Attorney's Office for the District of
New l\/lexico and does not bind any other federal, state, or local agencies or prosecuting
authorities.
VOLUNTARY PLEA
16. The defendant agrees and represents that this plea of guilty is freely and
voluntarily made and is not the result of force, threats or promises (other than the promises set
forth in this plea agreement and any addenda). There have been no representations or promises
from anyone as to what sentence the Court will impose l
VlOLATION OF PLEA AGREEMENT
l7. _ The defendant understands and agrees that if the defendant or the defendant's
attorney violates any provision of this plea `agreement, the United\States may declare this plea
agreement null and void, and the defendant will thereafter be subject to prosecution for any
criminal violation including, but not limited to, any crime(s) or offense(s) contained in or related
to the charges in this case, as well as perjury, false statement, and obstruction of justice, and any

other crime committed by the defendant during prosecution of this case.

 

 

SPECIA`L ASSESSMENT

18. At the time of sentencing, the defendant will tender a money order or certified
check payable to the order of the United States District Court, District of New Mexico, 333
Lomas Boulevard, NW, Albuquerque, New Me_xico 37102, in the amount of $100.00 in payment
of the special penalty assessment described above.

ENTIRETY OF AGREEMENT

19. This document and any addenda are a.complete statement of the agreement in this
case and may not be altered unless done so in writing and signed by all parties The parties agree
and stipulate that this agreement will be considered part of the record of defendant's guilty plea
hearing as if the entire agreement had been read into the record of the proceeding This
agreement is effective upon signature by the defendant and an Assistant United States Attorney,
and upon entry of a guilty plea by the defendant pursuant to this agreement

AGREED 'ro AND sIGNEr) this 3 day of A\()Y\ l ,2014.
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DAMON P. MARTINEZ
Acting United States Attorney

\(”\

LFRED J. PEREZ
Assistant U.S. Attorney
555 S. Telshor Blvd., Suite 300
Las Cruces, NM 88011
(575) 522-2304 - Tel.
(575) 522-2391 - Fax

 

This agreement has been read to me in the language I understand best, and l have
carefully discussed every part of it with my attorney. l understand the terms of this agreement,
and l voluntarily agree to those terms. My attorney has advised me of my rights, of possible
defenses, of the sentencing factors set forth in 18 U.S.C. § 3553(a), of the relevant sentencing
guidelines provisions, and of the consequences of entering into this agreement No promises or

 

 

inducements have been given to me other than those contained in this agreement No one has
threatened or forced me in any way to enter into this agree v nt. Finally, l am satisfied with the
representation of my attorney in this matter.

 

l am the attorney for JORGE JOSE CARDOZA. l have carefully discussed every part of
this agreement with my client. Further, I have fully advised my client of his rights, of possible
defenses, of the sentencing factors set forth in 18 U.S.C. § 3553(a), of the relevant sentencing
guidelines provisions, and of the consequences of entering into this agreement To my
knowledge, my client's decision to enter into this agreement is an informed and voluntary one.

CHARLES MeEtHINNEY
Attorney for Defendant

 

